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lil"‘t§`l`l_",l:ll\l l)l[‘iTRl{iT UF ?~IF.`W YURK
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|n re
Cltaotcr 2
Ber-"Ll\`- Ul"Sll_"-._ L`aso No. li-li"-i"'i'f‘ii'[i

[J'e btor.

AFFIRMAT]UN PL'RSUAN'I` `l`[} L{]'{TAL Rl§l,Fl 1009-1{21}
S`l`.“"t`l`l_" tJl" l\`-l-ZW "r’t']l?.i<l}
L`{]i.iN'l`Y (}F T*~{.L"~LSF..»“-'tl_l } SS.:

RHY .i. `l_.E`BTliR, an attorneyr duly admitted to practice before tltis court. affirms the
iiillowing under thc |:icnalt‘_tr ot` ocr_ittr§r‘.

l . '|`itat l am the attorney l`oi' BRIAN Ul"SlE. and as such am l`nl|y' [`arniliar with tlic litcls
and circumstances that sarnoan this casc.

2. `l'hat on lJocctnhcr 5. 2tl| 1 HRir-"tN UFSIE filed a Cliaptcr 2 pctition. T'|tat thc tirst 341
hearing was ltcld on .iannarj,-' |t]', 20 | B, and the date sct i`or filing objections was March 12. 2d1 H.

fi. Filed herewith is an amendment to Sc]tedi.de F liled herein. {See ls`:-<ltlblt "r"t"i

4. linncxcd hcrcto is a iistin,=g, setting Forth the specific addition to Hchedtde F. i`hc natttrc

ofthc change is to include the debt listed t`or the following creditor below as delitor ittadvortcntij,-'
left it oi`f` his schedules

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cio cwa sttai_t"rr _

sss s. tt»'rtnnsa little 41"-”" rla

cnic.»it';tt tL scan-4

o_ I-'tn amended mailng matrix is anncxed hereto as a creditor is hcng addcd.
Wl-IL"H|-;|*'{]RE, applicant prays the allowing oi`thc liling ol`the amended schodtllc.

l'Jated: liday .'i. 20] 3 s.“` Rojy' J. L.cstcr
Garden City._, Now Yorlt ____ _____
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Cl'ceansidc. l“~lcw “r'ork.

2_ That ori the 3rd tlay til`May'. 2'[]13. l served a copy of an _»"tl~`|-`]Rl'vl.aT|{]N PLIRSUl*tN`l`
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United Statcs l*ostal Sery'icc contained in a securely closed post-paid envelope directed to the
following person by |"irst C]ass lylail at the address designated below which is tlte last known
address oi`thc addressee and enclosed in- an envelope containing name and return address of the
party cl`lecting service to:

ll Kennelh Barnard
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560 Fedei"al Plaza, Roont 563
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EXHIBIT “A”

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Fill in this information to identity your cese:

 

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Ease number 3-11'.??510_

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amend ed filing

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Eichedu|e EllF: Creditors Who Haire Llnseeured Claims 12l15

Be as complete and accurate as possible. i.lse Part 1 for creditorsl with l=l=tlt:iltlT*lll claims and Part 2 l'clr creditors with lill[tiiiF’Ftli[!il§i'l"tl claimc. Liat the other party to
any execulol"_~l contracts or unexpired leases that could result |ri a claim. .P.lae list executory contracts on Schadule NB: Property ti,‘.tlllicia| Form 1DMJB}| ann orr
Sohedllie G: E:l:ettl.ll£t`,sl‘ill l.'.lontracts and Unexpired l_eases [t'in'icia| Fclrm ltJEilG]_ Do not include any creditors will-l partially secured ctaima that are listed |,i
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name and case number tif known]l.

l.iet All nr 'r_nm emole unsecured claims
1. no anyl creditors haire priority unsecured claims against you'§'
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l Yes

2_ List all of your priority unsecured claims ll a creditor has more then otte priority unsecured claiml tier lite creditor separately ior each claiml For each claim lisied_
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possible list the claims irl alphabetical order according to the creditors rla ma |Fyau nasa mara than two priority unsecured clair-rla till out the eentirluatiun Fiag,a ar
Peri 1. |f mere then one creditor holes a particular ciaim. list the othercrealtura in Part 3_

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is the claim subject to offset? l:l Cla|n'i$ |'IJF deal_li or personal injury while you were intoxicated
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unsecured cleim. list the creditor separately for each -:ieim. Fer each claim lls.ter.ll identity what type of claim it is Do riot lro1 claims already included in Part t_ aurora

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n Del::'!cr 2 onlyl

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g ChE\'.'k lf this claim la for a community
debt

is the claim suhjecl le offset”r

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Doyid Faslta
mortuary Erolili_l-CE Name
449 Ciatt|and revenue

l_f.`£r:_l_arhurst._ N‘¢'__t 1 51 E ____
Nurnt:er Street E-ly Sta1e le r`.ode

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n Del:itor 1 and Del::tcr 2 only

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n l.`.-hecl-r lt this claim is for a community
debt

is the claim subjected offset?
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Schedule Ei'F: Creditors Who Haye Unaecured Clalma

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l Displ_iteit
Type et N'E.lNF'FtlDRlT‘r' unsecured claim:
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m Ohlretttiuns an eng cut of a seceratien agreement or divorce trial yot. cid not
report as priority clai-""e
m Debrs be pension or profit-sharing plansl and other siiriiiai debts
l Clthr_>r. Bpt=.~:':liy Lea$'& _ _
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El unliquidated
- Ul$oubad
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E:| $tudont loans
m Crl:i|i-.j;ations ar-'s=ng out of a separation agreement er diverse that you did net
roport as prlorily claims
n DEth l'.Cr pension or F-rD":-Sl'\ariog plans and other similar debts
- |:|[hgr_ SFE»C||"F sac -' BUSFHGEE
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Case 8-17-77510-ast

Edward Bohm
Nonprlorltyms Narne

19 B|ackberry Lane
Eenter_lliltL|ctt_es, N‘l" ttBEL

Nirn-.l:ier Streel C-ly State Zrtt Cede

'l'l'l‘lo incurred the ideth Cl-ier_-lt one

' Dab‘bor 1 only

El oebior 2 only

i:| center t and pester 2 only

l:l et least one ol the debtors and another

m Che¢i'i il this claim ls for a community
debt
is the claim subject to effects

l tro
ElYes

Edward Sypher

Nonpr lority Cradil'.or's NorF
181 D|cl Wilmot Rcad
Scae=el_i.c. NY 1053§’-_
Ntlmt!r_tr Etreet Eit'y State zip Code
Who incurred lite debt? charts one

 

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l;l lite etcl' 2 onlyl

n Dab‘bor 1 and F.`let:itor 2 only

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m Ei‘leclt if this clallt't is for a community
debt

ls ll‘le claim aub|ecl tci ot[sat?
- Nc

l'_`lrcs

Fanny Puio|s

Nol'lt$ritirily Crisditcds Name_
263 Litchfie|d A'irenue
E|rl'_lt;ttrttl N‘f 11003

Nurrlc-er Strcet City stare le r_.‘oi;tis
'l|"il'i'lo irlr-u rred ti'l'E debl? Eheoll olie_

 

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is the claim subject lo offset'?

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l oihE,._ enemy Ex-En'lployee s Eiusiness

 

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report as prior=t'y claims

l:l Debls lo pension or profit-sharing planell and other similar debts

l other opacity E_t¢-Employee - Business

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l other guam Ex-Emp|oyee- Euslncss

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Nonpriority Crac'itor‘s blame _ ___ __
cio Gold smith Assoc when was the debt ihr.orree? 2p1 y

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_Ela||as, Tit T£i_214

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n Dco|.or 2 only |:[ Lin|iquidate-'_‘l

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le lhc claim cubiccl ic ci‘fsct? rol:io-t as priority elgin-re

- N:, n Dobts to pension or profit-shoring plansl and oti"el similar debts

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Glassfish Emerg Phyeit:an Leet it olgils or aoeoont number ?9`1'4 $E?E.tlli
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n Deoior 2 only n Ul'"":ll-=ldf'lei|

|:| oeotort ai-el oeoior 2 only l oieoi_rieo

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G|ert Lemeshetr l.estnoliplte or account number iii"crigl.iard Unknown
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ti'i:i W. 94th St, L.pt TH 'll"i'hen was the debt incurrcd? 2'|]115 Bi 2'|:|'1?l
_N_ew York, i'ii_‘i' 1tJtJ25

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ls the claim subject to offset"l' report ao priority claims

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Case 8-17-77510-ast

Gll.ll Finortcla|
hionpronty CHi.or's Nan'le
Pt.`.' on 1131145

Ariingto_[]£ilt_?BUQE
Nomt:er Strect City Etare Zlo code

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n De odor 2 only

l:l Dcle|.c-r ‘l ard Deoior 2 only

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m Eheclr it this claim is for a community
debt

|5 lhc claim subject to streets

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llliillil Financia|
_Ncnprionty Credi'tor's Name
PC\ EOX 1131145

nrli[_lgtcn, TJt F_Ertiib_
Number Etreei l1'¢.`.ity Sta|e Zip Co.:lo

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l:| ue otor 2 only

El center 1 and oeetor 2 only

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l:| El'lcclt ii this claim is for a community
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ls the claim subject to otrset?

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Great nmerican ins Co
Nonpriomibor's Nan'le
301 E. 4th Street
Ci_ncinriati, DH 45202

Ntirnoer direct city Stete ?lp' code
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m lE'l:ilir:_ral:lono aiisii-rg out ot o separaoon agreement or dit-oroe that you did nor
repon as priority claims

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report as priority claims

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Case 8-17-77510-ast

Dr=trtrrr 1 Erian Gfsie

El'|ma|i:tr,ll Lors
Neriorlority'€redlior's blame

219 Leitington revenue
Ee_egr_i_r't, NY 1152|1|'
Nuniber Street |I`.it\_,r Etate zip li’_Ioidei

'i'i'ho incurred the dobi‘r cheek one.

l oootor 1 only

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n DEb‘iDr 1 end Uebtor 2 onlyl

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debt
ls thel claim subject to ol`{set'?

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l:l res

lBlir'l Credlt LLC
l\lonp/rir:trity Cl'ediicr"M

cio hines tl'r|edm'an1 stat
52 Duane Street, ith F|r
Nm'r 1'r"l'.'rrlt. NY _TlJi]iIl"r'

Nunit>er etreet I;:ity atate ero ease
1i|'|i|'ittil incurred the del:rt'tl L',“herr:.ir orre_

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- Cl'lEcit if this claim is for a community
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Nr:ir' pnorliy'_t]Tlr_ir's Name
11 Druid revenue
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l:l Pr: lea 51 Elr`le l'.lt' the dcb‘icrs anc' another

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SUITE 229
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The undersigned attorney ccrtilies pursuant tci 22 NY{",RR lJtl-i . l that to thc heat ot`ltisi“her

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Roy J. Lcstcr: F.su.

 

 

 

 

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